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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                              PITTSBURGH DIVISION

TIMOTHY FRUM

       Plaintiff

vs.                                                CIVIL ACTION NO.: 2:10-CV-00370-DSC

GLOBAL CREDIT AND COLLECTION
CORPORATION

       Defendant

                              STIPULATION OF DISMISSAL

       The parties herein, by and through counsel , stipulate that the above-entitled matter be

entered as dismissed, with prejudice. Each party shall be responsible for paying their own costs,

expenses and attorney fees.



LEGAL HELPERS, P.C.                            THE LAW OFFICES OF RONALD S. CANTER, LLC

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